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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CLINT PHILLIPS, III,

                Plaintiff,

        v.                                                     Case No. 21-cv-1582-JPG

 UNITED STATES OF AMERICA,

                Defendant.

                                          JUDGMENT

       This matter having come before the Court, the issues having been heard, and the Court

having rendered a decision,

       IT IS HEREBY ORDERED AND ADJUDGED that judgment is entered in favor of the

defendant United States of America on plaintiff Clint Phillips, III’s claim under the Federal Tort

Claims Act, and that claim is dismissed with prejudice; and

       IT IS FURTHER ORDERED AND ADJUDGED that all other claims against the United

States of America are dismissed without prejudice.


DATED: July 8, 2022

                                             MONICA A. STUMP, Clerk of Court

                                             s/Tina Gray, Deputy Clerk



Approved:      s/ J. Phil Gilbert
               J. PHIL GILBERT
               DISTRICT JUDGE
